               IN THE UNITED STATES DISTRICT COURT

          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA               :
                                       :
                v.                     :   1:25CR19-1
                                       :   1:23CR260-2
REMY RA ST FELIX                       :


                         NOTICE OF RELATED CASES

      NOW COMES the United States of America, by Sandra J. Hairston,

United States Attorney for the Middle District of North Carolina, and advises

the Court of related cases. On January 13, 2025, a grand jury in the Middle

District of North Carolina returned an indictment charging Remy Ra St Felix

with one count of retaliating against a witness for attendance and testimony

given in case 1:23CR260-2, in violation of 18 U.S.C. § 1513(b)(1) and (c). Dkt.

Ent. #1 in 1:25CR19-1.




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This, the 15th day of January, 2025.

                             SANDRA J. HAIRSTON
                             United States Attorney

                             /S/ ERIC L. IVERSON
                             Assistant United States Attorney
                             Middle District of North Carolina
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                        CERTIFICATE OF SERVICE

      I hereby certify that on January ____, 2025, the foregoing was

electronically filed with the Clerk of the Court using the CM/ECF system,

which will send notification of such filing to counsel of record. If there is not

yet counsel of record, the foregoing will be available to counsel when counsel

makes an appearance.


                                           Respectfully submitted,


                                           ERIC L. IVERSON
                                           Assistant United States Attorney
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